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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

AARON RUBENSTEIN,
                                Plaintiff,
                         v.                                             17-cv-821 (JPO)

ROF AM INV. LLC, JOHN R. BURCH,                                    NOTICE OF MOTION
PERCEY AL INVESTMENT PARTNERS, L.P.,
HEINZ WIEZOREK, CHARLOTTE WIEZOREK,
EV A WIEZOREK, GARY ATWELL and SUSAN
ATWELL (as trustees for Susan L. Atwell
Revocable Trust), LARRY SOUZA and SHARON
SOUZA (as trustees for The Souza Family Trust),
ROBERT RUBIN (as trustee for Robert Rubin
Revocable Trust), and JENNIFER COLL,
individually and as trustee for Megan B. Coll
Grantor Trust and as trustee for Robert J Coll, 111
Grantor Trust,
                                 Defendants,

                                and
SEARS HOLDINGS CORP.,
                                Nominal Defendant.


               PLEASE TAKE NOTICE that upon the Affidavit of Fernando M. Font, sworn to

August 15, 2018, the exhibits thereto, the Second Amended Complaint, the accompanying

memorandum of law, and all of the prior pleadings and proceedings had herein, Defendants

Rofam Inv. LLC, John R. Burch, Perceval Investment Partners, L.P., Heinz Wiezorek, Charlotte

Wiezorek, Eva Wiezorek, Gary Atwell and Susan Atwell (as trustees for Susan L. Atwell

Revocable Trust), Larry Souza and Sharon Souza (as trustees for The Souza Family Trust),

Robert Rubin (as trustee for Robert Rubin Revocable Trust), and Jennifer Coll (individually and

as trustee for Megan B. Coll Grantor Trust and as trustee for Robert J. Coll, III Grantor Trust),

by and through their attorneys, Seward & Kissel LLP, will move this Court before the Honorable

J. Paul Oetken, at the United States District Court, Southern District of New York, 40 Foley

Square, New York, NY 10007, at a time and date convenient for the Court, for an Order pursuant
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to Fed. R. Civ. P. 12(b)(6) dismissing the Complaint for failure to state a claim upon which relief

may be granted and granting such other and further relief as this Court deems just and proper.


New York, New York
August 17, 2018

                                            SEWARD & KI.SSEL LLP           ~

                                           By:     ll!IA~ i . L _
                                                 Mark J. Hyland    I                .
                                                 Noah S. Czarny

                                                 SEW ARD & KISSEL LLP
                                                 One Battery Park Plaza
                                                 New York, New York 10004
                                                 Tel: (212) 574-1200

                                                 Attorneys for Defendants Rofam Inv. LLC, John
                                                 R. Burch, Perceval Investment Partners, L.P.,
                                                 Heinz Wiezorek, Charlotte Wiezorek, Eva
                                                 Wiezorek, Gary Atwell and Susan Atwell (as
                                                 trustees for Susan L. Atwell Revocable Trust),
                                                 Larry Souza and Sharon Souza (as trustees for
                                                 The Souza Family Trust), Robert Rubin (as
                                                 trustee for Robert Rubin Revocable Trust), and
                                                 Jennifer Coll (individually and as trustee for
                                                 Megan B. Coll Grantor Trust and as trustee for
                                                 Robert J Coll, Ill Grantor Trust)




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